                  IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION

CHRYSANTHE PARKER,               §              No. 5:21–CV–175–DAE
                                 §
     Plaintiff,                  §
                                 §
vs.                              §
                                 §
SPOTIFY USA, INC. et al.,        §
                                 §
     Defendants.                 §
________________________________ §

              ORDER REGARDING SCHEDULING DEADLINES

             Before the Court is the status of this case, which was filed by Plaintiff

Dr. Chrysanthe Parker (“Plaintiff”) on February 24, 2021. (Dkt. # 1.) On April 26,

2021, Defendants Spotify USA, Inc., High Five Content, LLC, Tradecraft

Alternative, LLC, and Jason Cavanagh (collectively, “Defendants”) filed a Motion

to Dismiss. (Dkt. # 12.) Because the parties have sought multiple extensions on

their deadlines for a Response and Reply, the Motion is still not fully briefed. (See

Dkts. ## 13, 14, 15, 16, 18.) On June 1, 2021, the parties jointly submitted

scheduling recommendations with deadlines that hinge on the Court’s ruling on the

pending Motion to Dismiss. (Dkt. # 17.) Upon review of the scheduling

recommendations, and in light of the pending Motion to Dismiss, the Court will

not issue a scheduling order at this time.
            Instead, the Court hereby ORDERS the parties to re-submit

scheduling recommendations with proposed deadlines specified by calendar

date—if necessary in light of the Court’s ruling on the Motion to Dismiss—to the

Court no later than thirty (30) days after the Court rules on the pending

Motion to Dismiss.

            IT IS SO ORDERED.

            DATED: July 2, 2021, San Antonio, Texas.




                                            David Alan Ezra
                                            Senior United States District Judge




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